













	




IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






AP- 75,627





EX PARTE DARRELL GLENN CARR







ON APPLICATION FOR WRIT OF HABEAS CORPUS


IN CAUSE NO. 644434-A FROM THE


176 TH DISTRICT COURT OF HARRIS COUNTY





Per Curiam.


OPINION



	This is a subsequent application for writ of habeas corpus filed pursuant to Texas
Code of Criminal Procedure, Article 11.071, Section 5.  Applicant asserts that he is mentally
retarded and may not be executed.  We remanded his claim to the convicting court for
resolution.

	Applicant was convicted of capital murder on December 2, 1992.  We affirmed the
conviction and sentence.  Carr v. State, No. 71,634 (Tex. Crim. App. May 17, 1995).  On
October 27, 1997, applicant timely filed his initial application for writ of habeas corpus.  We
denied relief.  Ex parte Carr No. WR-55,033-01 (Tex. Crim. App. March 26, 2003).  On the 


	CARR   -2-

same day this Court reviewed applicant's subsequent application, found it me the
requirements of Article 11.071, Section 5 and remanded the matter to the convicting court
for resolution of the claim.  Ex parte Carr No. WR-55,033-02 (Tex. Crim. App. March 26,
2003).

	The convicting court has returned the case to this Court with its findings of fact.  We
have reviewed the record of the proceedings on remand.  The convicting court's  findings of
fact and conclusions of law are supported by the record and we adopt them as our own.  We
conclude that applicant is mentally retarded and may not be executed.   Accordingly, we
grant relief.  We reform applicant's sentence to life imprisonment in the Texas Department
of Criminal Justice Correctional Institutions Division.

	IT IS SO ORDERED THIS THE 28TH DAY OF FEBRUARY, 2007.

Do Not Publish


